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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

     Civil Action No. 1:20-cv-02765-RMR-MEH

     XINGFEI LUO,

                    Plaintiff,

     v.

     PAUL WANG,

                    Defendant.



     PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST SET OF
                       WRITTEN DISCOVERY REQUESTS


           Plaintiff Xingfei Luo (“Plaintiff”), by and through her undersigned counsel, hereby

    submits the following responses and objections to Defendant’s First Set of Discovery Requests,

    pursuant to Federal Rules of Civil Procedure 33, 34 and 36.

                  PRELIMINARY STATEMENT AND GENERAL OBJECTIONS

           Plaintiff has made a reasonable and good faith effort to respond to those Discovery

    Requests that are intelligible in the context of this case, and are not otherwise objectionable.

    Plaintiff has not yet completed her investigation of the facts related to this case, interviewed all

    witnesses in connection with this case, or completed her discovery or preparation of the factual

    and legal issues in this case. Each of the following responses, therefore, is based upon

    information known to Plaintiff at this time and specifically known to her after a reasonable

    inquiry.
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    REQUEST FOR ADMISSION NO. 3:

           Admit that you, or someone with whom you communicated prior to publication,

    published the information attached to these Discovery Requests as Exhibit 3

    (https://cserinusa.wordpress.com).

    RESPONSE TO REQUEST FOR ADMISSION NO. 3:

           Plaintiff objects to this request for admission because seeks information that is not

    relevant to the claims or defenses of any party. Defendant has not answered Plaintiff’s Complaint

    or asserted any counterclaims against Plaintiff. Therefore, the publisher of Exhibit 3 is irrelevant.

           Subject to and without waiving these objections, Plaintiff admits that she published

    Exhibit 3.

    REQUEST FOR ADMISSION NO. 4:

           Admit that you, or someone with whom you communicated prior to publication,

    published the information attached to these Discovery Requests as Exhibit 4

    (https://pppwang.wordpress.com/).

    RESPONSE TO REQUEST FOR ADMISSION NO. 4:

           Plaintiff objects to this request for admission because seeks information that is not

    relevant to the claims or defenses of any party. Defendant has not answered Plaintiff’s Complaint

    or asserted any counterclaims against Plaintiff. Therefore, the publisher of Exhibit 4 is irrelevant.

    Plaintiff also objects to the completeness of the portion of Exhibit 4 that purports to be part of

    Mr. Edward Weamer’s production in the Weamer litigation.

           Subject to and without waiving these objections, Plaintiff denies the request.




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    Dated: May 4, 2022.                AS TO OBJECTIONS,



                                       s/ Clarissa M. Collier
                                       David J. Schaller
                                       Clarissa M. Collier
                                       Wheeler Trigg O’Donnell LLP
                                       370 Seventeenth Street, Suite 4500
                                       Denver, CO 80202
                                       Telephone: 303.244.1800
                                       Facsimile: 303.244.1879
                                       Email: schaller@wtotrial.com
                                                collier@wtotrial.com

                                       Attorneys for Plaintiff




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